     Case 1:17-cr-00264-LJO-SKO Document 121 Filed 09/04/18 Page 1 of 1


1

2

3

4                         IN THE UNITED STATES DISTRICT COURT
5                       FOR THE EASTERN DISTRICT OF CALIFORNIA
6

7     UNITED STATES OF AMERICA,                   Case No.: 1:17-CR-00264-004 LJO
8                        Plaintiff,               ORDER OF RELEASE
9          v.
10    JHOANA MARIEL GARCIA-GARCIA
11                       Defendant.
12

13         The above-named defendant having been sentenced on September 4, 2018, to Probation,
14
           IT IS HEREBY ORDERED that the defendant shall be released forthwith.
15
           A certified Judgment and Commitment order to follow.
16

17
     IT IS SO ORDERED.
18

19      Dated:   September 4, 2018                    /s/ Lawrence J. O’Neill _____
                                              UNITED STATES CHIEF DISTRICT JUDGE
20

21

22

23

24

25

26

27

28
